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14
                              NORTHERN DISTRICT OF CALIFORNIA
15
                                         SAN FRANCISCO DIVISION
16
                                                          Case No. 3:23-cv-03223-AMO
17   IN RE OPENAI CHATGPT LITIGATION

18                                                        REPLY TO NON-PARTY DARIO
                                                          AMODEI’S OPPOSITION TO IN RE
19                                                        OPENAI AND AUTHORS GUILD
                                                          PLAINTIFFS’ MOTIONS TO COMPEL
20                                                        DEPOSITION

21                                                        Date: March 4, 2025
                                                          Time: 11:00 a.m.
22                                                        Judge: Hon. Robert M. Illman

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  I.    INTRODUCTION

        Dario Amodei is a percipient witness with first-hand knowledge of facts at issue in this case. This

is confirmed by OpenAI’s sworn interrogatory responses, which state that



                                                            This evidence is at the core of Plaintiffs’ case.

Under Rule 45, the inquiry should end there. It would be novel—and bizarre—to require a party to

exhaust first-party discovery before seeking nonparty discovery, particularly when its party adversary has

identified that nonparty as possessing relevant information, as required by Rule 26. Amodei has special

knowledge relevant to this litigation that OpenAI does not possess and in fact disclaims. Moreover, the

documents Plaintiffs cited in their Motion to Compel also show that Amodei has unique information that

Ben Mann—also identified by         OpenAI—does not    possess. As Mann’s supervisor while at OpenAI,! S|

                                                               Amodei possesses his own information about



            The documents suggest, among other things, that

                         presumably at the behest and direction of Amodei’s own OpenAI peers and

superiors. Accordingly, it is beyond peradventure that Amodei possesses relevant information about |

i                                  which is relevant not only to establish the copyright violations

themselves but also with respect to OpenAI’s recklessness, willfulness, or bad faith. Harper & Row

Publishers, Inc. v. Nation Enterprises, 471 U.S. 539, 562 (1985) (“Fair use presupposes ‘good faith’ and

‘fair dealing.’”) (cleaned up); see Unicolors, Inc. vy. Urban Outfitters, Inc., 853 F.3d 980, 991 (9th Cir.

2017) (“[T]o prove ‘willfulness’ under the Copyright Act, the plaintiff must show (1) that the defendant

was actually aware of the infringing activity, or (2) that the defendant’s actions were the result of

‘reckless disregard’ for, or ‘willful blindness’ to, the copyright holder’s rights.” ); In re Barboza, 545 F.3d



' See Gutkin    Decl., 97, admitting Mr. Amodei         had a supervisory role at OpenAL.
? Welinder Rough Depo Tr. 132:11-17




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702, 707 (9th Cir. 2008) (“a finding of ‘willfulness’ . . . can be based on either ‘intentional’ behavior, or

merely ‘reckless’ behavior.”); 17 U.S.C. § 504(c)(2)) (damages for willful infringement).

          In his opposition, Amodei does not—and cannot—dispute he possesses relevant information.

Instead, he misdirects, claiming Plaintiffs “have not done their homework,” have taken “negligible”

steps to gather this information from OpenAI, and that they “elect to leapfrog unconducted first-party

discovery.” This is wrong too. Plaintiffs put these questions to OpenAl, which disclaims knowledge and

points to Amodei. OpenAI in fact says

BE         ocx, in sworn interrogatory responses, has disclaimed knowledge and directed Plaintiffs to

Amodei. Deposition testimony of relevant OpenAI employees is along these lines. Mr. Pinto,

                                                               was deposed on February 21 and testified tha



          Amodei then says that Plaintiffs should come back to him after they have taken first party

depositions to the extent needed to “fill” any “concrete gaps.” Rule 45 has no such requirement.

Indeed, to the contrary, Rule 45 permits the issuing party to “command each person to whom it is

directed to do the following at a specific time and place” including depositions. Fed. R. Civ. P.

45(a)(1)(iii). There is no requirement that a party must exhaust first-party discovery before seeking

nonparty discovery.

          Lastly, Amodei argues that he should be afforded additional protections as an “apex” witness.

This is not well-taken either. Plaintiffs are not seeking testimony with respect to his current company or

his conduct as CEO while there. See In re Apple iPhone Antitrust Litig., No. 11-cv-06714-YGR-TSH, 2021

WL 485709, at *4 (N.D. Cal. Jan. 26, 2021) (“So, this is not a lawsuit by someone who slipped on a

banana peel in the produce aisle at Safeway and now seeks to depose Safeway’s CEO.”’). Instead,

Plaintiffs are pursuing Amodei’s firsthand knowledge of his conduct at OpenAI, including the creation of

Books! and Books? datasets along with his direction and supervision over the acquisition of pirated

training data, among other topics. Amodei fails to cite any relevant authority that would suggest the apex




3 See Pinto Depo        Tr.   at 47:12-15   (Jan. 24,       2025).
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doctrine should apply in cases such as this one, where a percipient witness with highly relevant

information then ceases employment and moves on to another job, albeit a senior one.

           Plaintiffs remain mindful of Rule 45’s dictate to avoid undue burdens on nonparties and have

volunteered to make considerable efforts to minimize burdens. They are flexible to his deposition

occurring within six weeks of the scheduled hearing date. Plaintiffs will make best efforts to coordinate

the deposition so that it concludes within a single day. Plaintiffs have also noticed the deposition for a

location in the same city where Amodei resides. Plaintiffs will also coordinate the deposition with the

Authors Guild Plaintiffs. But ultimately, given Amodei’s intimate involvement in the conduct that is core

to action, there is no reason for the severe time restrictions that Amodei is seeking. Plaintiffs respectfully

request an order compelling Amodei to sit for 7 hours of deposition time within six weeks of the

scheduled hearing date.

 Il.       ARGUMENT

              A. Plaintiffs have Shown Amodei Has Unique Relevant Knowledge Central to this

                      Case.

           No one disputes that Amodei was a senior employee, responsible for, among other things,



          While disclaiming its own knowledge, OpenAI identified Amodei as an individual with relevant

information. Amodei himself has unique information. As Mann’s direct superior and



relevant, non-cumulative knowledge required by Plaintiffs to prosecute their claims.* Amodei seeks to

avoid giving testimony, insisting that Plaintiffs depose OpenAI employees who OpenAT itself contends

only have limited, secondhand knowledge. But that is not the rule, and the cases Amodei cites are




* See Mann Hrg. Tr. 14:2-3 (Feb. 11, 2025) (“I find that based on his firsthand knowledge at the time,
that’s relevant to Plaintiffs’ claims, and that although he is a third party, he was an employee of the
company at the time when those events took place, and he has firsthand knowledge, and they’ve shown
the relevancy for that.”).
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inapposite. Most of them were cited by Mann and deal with the discovery of documents from third parties

that were also within the possession, custody, or control of the defendants.°

           Amodei seeks to avoid his deposition by misconstruing Plaintiffs’ position and mischaracterizing

“settled law.” The cases that Amodei cites on deposition discovery are also distinguishable. In Amzni

Innovation Corp. v. McFerran Home Furnishings, Inc., 300 F.R.D. 406 (C.D. Cal. 2014), the court granted

a motion to quash in part because the party seeking the discovery provided “generic” deposition topics

that “do not appear to have been framed with [the subpoena recipient] in mind at all.” Jd. at 412.

Moreover, that court observed the burden was “substantially greater” because the deposition would

have to proceed immediately before the discovery cut-off, and the Court could not assume the witness

was in the district. Jd.

           The only “new” decision that Amodei cites fares little better. In Athalonz, the court granted a

motion to quash a plaintiff’s deposition subpoena served on famed basketball star, Steph Curry, without

prejudice to serving a renewed subpoena after the plaintiff conducts first-party discovery. Athalonz, LLC

vy. Under Armour, Inc., 2024 WL 628846, at *8 (N.D. Cal. Feb. 14, 2024). The court observed the

plaintiff had not yet taken first-party discovery to determine “whether Curry played any role” in the key

facts at issue—marketing an infringing athletic shoe. Jd. at *7 (emphasis added). Moreover, there was

“ample time for [plaintiff] to pursue depositions and document discovery from [the first-party

defendant] that will help assess whether Curry could be expected to offer uniquely relevant testimony.”

Ta.

           Here, unlike in Amzni and Athalonz, Plaintiffs did their homework. They propounded first-party

discovery which elicited answers from OpenAI about the unique personal knowledge that Amodei

possesses, on core topics: the facts and circumstances surrounding the



>See Genus Lifesciences Inc. v. LannettCo., Inc., No. 18-CV-07603-WHO, 2019 WL 7313047 (N.D. Cal.
Dec. 30, 2019) (“[W]hen an opposing party and a non-party both possess documents, the documents
should be sought from the party to the case.”) (emphasis added); Davis v. Pinterest, Inc., No. 19-cv-
07650-HSG, 2021 WL 3044958, *4 (N.D. Cal. July 20, 2021 (denying motion to compel under Rule 45
where “the Court does not believe that [Plaintiff] ever asked [Defendant] for these documents”) (emphasis
added); Coppel ». Sea World Parks & Enter., Inc., No. 21-cv-1430-RSH-DDL, 2024 WL 4472352, *5 (S.D.
Cal. Aug. 19, 2024) (“Having elected not to pursue these documents from Defendants, Plaintiffs may not
now seek the same documents from [a third party].”) (emphasis added).
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                                                          Moreover, an OpenAI witness testified at his

deposition that                                                                  around the same time that

OpenAI downloaded data from LibGen.° Additionally, Plaintiffs are not waiting until the eleventh hour

or attempting to ramrod the depositions just before the fact-discovery deadline as in Amunz. First-party

discovery has confirmed Amodei should be deposed, and Plaintiffs are doing so within the parameters of

the ambitious case schedule.

          Amodei also makes the false assertion that Plaintiffs have failed to make sufficient effort to

retrieve the requested information from Defendants.’ This is not well-taken either. Plaintiffs need not

exhaust first-party discovery before resorting to Rule 45. See Hunt v. Continental Casualty Co., 2015 WL

1518067, *2 (N.D. Cal. April 3, 2015); see also In re Transpacific Passenger
                                                                           Air Transp. Antitrust Litig. ,

2014 WL 939287, *5 (N.D. Cal. March 6, 2014) (noting exhaustion is a consideration, not requirement).

And even if it were, it is baffling what party discovery Plaintiffs could even seek when OpenAI, the party

adversary, identified only nonparties (including specifically Amode1), as possessing this information.

This is before even considering that OpenAI deleted its copies of Books1 and Books2 following Amodei’s

departure and they otherwise lack information from OpenAI about what was contained in those datasets

and connections of those datasets to the large language models at issue in this case.

             B. The Evidence Plaintiffs Has Submitted to Date Supports Their Request

          The evidence that Plaintiffs have submitted—revealed through first-party discovery on

OpenAI—demonstrates that Amodei has unique relevant knowledge.

                     1.     OpenAI’s Interrogatory Responses Concede that Amodei Has Knowledge

          OpenAl’s Interrogatory Responses—cited in Plaintiffs’ moving papers—speak for themselves.

To the extent that OpenAI’s response to Interrogatory 15 lists three other current employees, those

individuals were listed in OpenAI’s original response to Interrogatory No. LV

                                                                                 When Plaintiffs pressed



See supra, note 2.


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     OpenAl to ae...                                                                   did so by supplementing its

     response to Interrogatory No. 15. Specifically, through meet-and-confer communications, OpenAI

     revealed that

                                                              Benon Decl. ISO Mtn. to Compel (ECF No. 279-1),

     q 9. This is also consistent with OpenAI’s representations to the Authors Guild Plaintiffs. See Opp. at



                   OpenAI’s representations have been consistent across the board:

                                                  No other individuals were identified. This fact alone justifies

     Amodei’s deposition.

                        2.   OpenAI’s Documents Are Consistent with its Interrogatory           Responses— Amodei
                             Plainly has Unique Knowledge

                 Despite Amodei’s mischaracterizations, the documents cited in Plaintiffs’ motion demonstrate

     he was intimately involved with the relevant conduct in this case:

                 Documents regarding purchase of books. Amodei criticizes three documents® because in them,

     Amodei discusses                                                                                       But the

     fact that

     relevant to willfulness and bad faith, because it suggests the company knew it should have compensated

     book authors for using their data to train its products.

                 Documents regarding LibGen. Amodei’s argument is that there are other people involved in or

     mentioned on these documents or communications. This is not the standard. The fact that others

     possess information about events or communications does not mean Amodei does not. But the premise is

     wrong too. Amodei is either the author of, or an active participant in, these documents or

     communications. For example,         OPCO    NDCAL     0067518

                                                                               While other individuals provide


     7 The Court should give no weight to the fact that these interrogatories are from “from ten months
     ago based on OpenAI’s then-current understanding.” Opp. at 7:6-7. Rule 26(e) requires timely, ongoing
27   supplementation. Fed R. Civ. Pro., Rule 26(e).

28
     ® OPCO NDCAL 1496743;               OPCO _NDCAL 0853484;           OPCO_NDCAL_ 0854459.
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feedback using the “comment” feature of Google documents, Dario Amodei is the author and custodian

of the document. The document is highly relevant to understanding po

                                                                       The other document in this group,

OPCO     NDCAL      0067583, further demonstrates that

                                                                 OPCO NDCAL 0067583



further underscores the point that Amodei, as Mann’s supervisor, possesses unique knowledge about the

direction and need to use certain types of data as opposed to others. Lastly, Amodei tries to attack

Plaintiffs’ reliance on   OPCO   NDCAL        0866414. Amodei has it backwards. While there may be twelve

people on the thread, he ignores the fact that thread includes



         OpenAI Whitepaper and Origin of the Names “Books1” and “Books2.”” Amodei tries to downplay

his involvement by saying he is one of 31 authors of the relevant white paper even though he was

included in a lengthy message thread discussing drafting the paper. See OPCO        NDCAL     750545.’ Of

note, Amodei comments o1

                                                               Id. The document also reveals that Amodei,

                                                               ° had unique views about the propriety of

OpenAlI’s acquisition or use of the data. Jd.

        Knowledge of Mitigation Effort. Amodei’s intimate involvement in and direct knowledge of these

topics is plainly evident on a quick read of the documents at issue. See OPCO      NDCAL._ 0858865."

                                                                                    and that he offered

unique insights in that regard. Jd. at -72 (Amodei:


9 Lhe document is before the Court as Exhibit F to the declaration of Holden Benon, submitted to the
Court under seal on February 3, 2025.
10 See supra, note 2.
11 The document is before the Court as Exhibit H to the declaration of Holden Benon, submitted to the
Court under seal on       February 3, 2025.

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                   3.    The Deposition Testimony Plaintiffs Have Elicited to Date Further Confirms
                         that Amodei Possesses Unique Knowledge
          Amodei falsely claims that “Plaintiffs have done nothing to pursue the first-party deposition

discovery from anyone named at OpenAI in these interrogatory responses[.]” Opp. at 9:6-7. This is

plainly not true. Plaintiffs have already deposed one individual named i1



                        See Pinto Depo Tr. at 47:12-15 (Jan. 24, 2025) (“Q.



                                  On February 21, Plaintiffs deposed current OpenAI employee Peter

Welinder, who also                                                 See Welinder Rough Depo. Tr. 279:11-282:8



                                            id. at 311:20-24

             Further, Welinder pointed to Amodei as the expert for training models in 2020. See supra,

note 2.

          Plaintiffs have also noticed the depositions of Paino and Ryder (also listed in OpenAI’s response

to Interrogatory 15), and the parties are currently meeting and conferring to determine the deposition

dates. Declaration of Holden Benon (“Benon Decl.”), J 2, 4. Plaintiffs have duly served a deposition

subpoena on Alec Radford, despite Amodei’s baseless claim that Plaintiffs “have done nothing to pursue

the first-party deposition testimony from [him.]” Opp. at 9:6-7. Finally, Plaintiffs did serve a Rule

30(b)(6) notice containing various topics regarding the Books1 and Books2 datasets. Benon Decl., { 3.

Regardless, this is no substitute for the firsthand knowledge that Amodei possesses.

             C. Amodei Is Not an “Apex” Witness

          Although seeking shelter under the “apex doctrine,” Amodei fails to cite supporting case law

for the proposition that it applies here. Amodei is not an apex of OpenAI and his testimony is not sought

as the figurehead or mouthpiece. Amodei should not be allowed to avoid his obligation to provide

testimony regarding his prior employment simply because he is now a CEO. The standard is whether the

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 1   witness possesses personal knowledge, which would apply even if Amodei was the current CEO.

 2   Anderson v. Cnty. of Contra Costa, No. 15-CV-01673-RS (MEJ), 2017 WL 930315, at *3 (N.D. Cal. Mar.

 3   9, 2017) (quoting Powertech Tech., Inc. v. Tessera, Inc., No. C 11-6121 CW, 2013 WL 3884254, at *1 (N.D.

 4   Cal. July 26, 2013)) (“Where a witness has personal knowledge of facts relevant to the lawsuit, even a

 5   corporate president or CEO is subject to deposition.”).

 6            In fact, in the cases relied on by Amodei, depositions of “apex officers” were permitted where

 7   the deponents had unique, firsthand knowledge of facts relevant to the case and where the deposing

 8   party exhausted less intrusive methods of discovery. In re Google Litig., No. C 08-03172 RMW PSG, 2011

 9   WL 4985279, at *2 (N.D. Cal. Oct. 19, 2011). This Court has previously recognized “the party seeking

10   to take the deposition need not prove conclusively that the deponent certainly has unique, non-repetitive

11   information; rather, where a corporate officer may have any first-hand knowledge of relevant facts, the

12   deposition should be allowed.” Finisar Corporation v. Nistica Inc., 2015 WL 3988132, *2 (N.D. Cal. June

13   30, 2015) (emphasis added). Since Amodei is an identified creator of several of the datasets at issue

14   here,12 supervised others withing OpenAI’s organization, and OpenAI has not identified any of its own

15   present employees with relevant knowledge, Amodei has unique and critical first-hand knowledge of

16   unique, relevant facts.

17            Absent extraordinary circumstances, “it is very unusual for a court to prohibit the taking of a

18   deposition,” as any party attempting to avoid deposition “carries a heavy burden to show why discovery

19   should be denied.” In re Google Litig., at *2. Amodei’s attempt to shift Plaintiffs’ burden fails to

20   recognize that depositions of “apex officers” are only truly disfavored where “public agency and

21   executive department heads” are involved or where “a corporate officer [is] unlikely to have personal

22   familiarity with the facts of the case.” City of Sterling Heights Gen. Employees’ Ret. Sys. v. Prudential Fin.,

23   Inc., No. 212CV5275MCALDWDNJ, 2015 WL 9434782, at *2 (E.D. Cal. Dec. 24, 2015). Amodei has

24   met neither requirement here.

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          See Mann Hearing Transcript 14:2-3.
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 1   III. CONCLUSION
 2          For the foregoing reasons, Plaintiffs respectfully request that the Court grant Plaintiffs’ Motion
 3   to Compel the Deposition of Dario Amodei.
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     Master File No. 3:23-cv-03223-AMO            12
         REPLY TO NON-PARTY DARIO AMODEI’S OPPOSITION TO IN RE OPENAI AND AUTHORS GUILD
                                 PLAINTIFFS’ MOTIONS TO COMPEL DEPOSITION
